                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

 ERIC SINKS,                                        )
                                                    )
        Petitioner,                                 )
                                                    )
 v.                                                 )       No. 2:19-CV-00063-JRG-CLC
                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
        Respondent.                                 )

                                            ORDER

        This matter is before the Court on Petitioner’s Motion for Extension of Time to File Reply

 to Response in Opposition to Petitioner’s Motion Filed Pursuant to 28 U.S.C. § 2255 [Doc. 6].

 The motion is GRANTED.

        So ordered.

        ENTER:


                                                    s/J. RONNIE GREER
                                               UNITED STATES DISTRICT JUDGE




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